                 Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 1 of 26
       EXHIBIT A                                                                        # EFILED IN OFFICE
                     General Civil and Domestic Relations Case Filing Information FornCLERK of superior court
                                                                                                             CRISP COUNTY, GEORGIA
                         0 Superior or □ State Court of crisp                                 County              22V-095
                                                                                                             MAY 10, 2022 10:29 VM
       For Clerk Use Only

       Date Filed C5-10-2022                                  Case Number 22V-095                                          utara na\ .lip. Clerh
                                                                                                                          Crisp Ccunl Georgia
                      MM-DD-YYYY

Plaintiff(s)                                                      Defendant(s)
Goins, Carolyn                                                    Wal-Mart Stores East, L.P.
Last         First             Middle I.   Suffix    Prefix       Last           First           Middle I.    Suffix   Prefix


Last         First             Middle I.   Suffix    Prefix       Last           First           Middle I.    Suffix   Prefix


Last         First             Middle I.   Suffix    Prefix       Last           First           Middle I.    Suffix   Prefix


Last         First             Middle I.   Suffix    Prefix       Last           First           Middle I.    Suffix   Prefix

Plaintiff's Attorney Peterman, Mr. Jody D.                         Bar Number 573552                   Self-Represented □

                          Check one case type and, if applicable, one sub-type in one box.

       General Civil Cases                                               Domestic Relations Cases
       □       Automobile Tort                                           □      Adoption
       □       Civil Appeal                                              □      Contempt
       □       Contract                                                         □ Non-payment of child support,
       □       Contempt/Modification/Other                                      medical support, or alimony
               Post-Judgment                                             □      Dissolution/Divorce/Separate
       □       Garnishment                                                      Maintenance/Alimony
       IE     General Tort                                               □      Family Violence Petition
       □       Habeas Corpus                                             □      Modification
       □       Injunction/Mandamus/Other Writ                                   □ Custody/Parenting Time/Visitation
       □       Landlord/Tenant                                           □      Paternity/Legitimation
       □       Medical Malpractice Tort                                  □      Support - IV-D
       □       Product Liability Tort                                    □      Support - Private (non-IV-D)
       □       Real Property                                             □      Other Domestic Relations
       □       Restraining Petition
       □       Other General Civil

□      Check if the action is related to another action(s) pending or previously pending in this court involving some or all
       of the same parties, subject matter, or factual issues. If so, provide a case number for each.


                 Case Number                                   Case Number

E      I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
       redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

□      Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                           Language(s) Required

□      Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                                                                         Version 1.1.20
                          Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 2 of 26
            EXHIBIT
       SHERIFF’S     A OF SERVICE
                 ENTRY
                                                                         Superior Court             3     Magistrate Court          □
       Civil Action No.      22V-095                                     State Court                □     Probate Court             □
                                                                         Juvenile Court             □
       Date Filed            05/10/22 10:29 AM
                                                                         Georgia,          CRISP                   COUNTY

       Attorney’s Address    Peterman, Mr. Jody D.                           Goins, Carolyn
                             Jody D. Peterman, LLC
                             PO Box 6010
                             Valdosta, GEORGIA 31603-6010                                                                     Plaintiff

                                                                                                           VS.
                                                                             Wal-Mart Stores East, L.P.
       Name and Address of Party to be Served.
       Wal-Mart Stores East. L.P. c/o Store Manager
                                                                                                                             Defendant
       1215 E. 16th Avenue

       Cordele, GEORGIA 31015
                                                                                                                             Garnishee

                                                       SHERIFF'S ENTRY OF SERVICE
  <
  2
  S □ I have this day served the defendant                                                                       personally with a copy
  w
  CL
      of the within action and summons.

  z!   I have this day served the defendant      U) fl | I* * V-i
                                                                         I2J* £e&
                                                                                                          by leaving a
  5 copy
  ° L1   of the action and summons at his most notorious place of abode in this County.
  ©^Delivered same into hands                                                        SpgllS______ described as follows:

       age, about         years; weight          pounds; height,^£bout   5     feet and       *-?   inches "domiciled at the residence of
       defendant.
  z
  2
  2 Served the defendant___________________________________________________                                                  a corporation
  ©□by leaving a copy of the within action and summons with_______________________
  g in charge of the office and place of doing business of said Corporation in the County.
  o

  5  I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the
  s  door of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of the
   ^ same in the United States Mail, first class in an envelope property address to the defendant(s) at the address shown in said
  ^ summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
     place stated in the summons.

  co
  w (-] Diligent search made and defendant_________
  o not to be found in the jurisdiction of this court.


       This         day of   /V|<U^                    , 20_Tt
                                                                                                                                     Deputy




Defedoitt
    Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 3mofEFILED
                                                                 26 IN OFFICE
EXHIBIT A
                     SUPERIOR COURT OF CRISP COUNTY                                          CLERK OF SUPERIOR COURT
                                                                                              CRISP COUNTY, GEORGIA
                            STATE OF GEORGIA
                                                                                                     22V-095
                                                                                             MAY 10, 2022 10:29 AM

                                                                                                           ffTaraWayoslip. Clerk
                                                                                                          Crisp County, Georgia




                          CIVIL ACTION NUMBER 22V-0Q5
      Goins, Carolyn

      PLAINTIFF
                                                  VS.
      Wal-Mart Stores East, L.P.

      DEFENDANT


                                 SUMMONS
      TO: THE CORPORATION COMPANY (FL)

      You are hereby summoned and required to file with the Clerk of said court and serve upon the
      Plaintiffs attorney, whose name and address is:

                                 Jody D. Peterman
                                 Jody D. Peterman, LLC
                                 PO Box 6010
                                 Valdosta, Georgia 31603-6010

       an answer to the complaint which is herewith served uponVou, within 30 days after servicjf of
       this summons upon you, exclusive of the day of service, p you fail to do so, judgment b\r
       default will be taken against you for the relief demanded in the complaint.         /

       This 10th day of May, 2022.
                                                        Clerk ^Superior Co'




                                                                             vTara rlayslip, Clerk
                                                                            Crisp County, Georgia




                                                                                            Page 1 of 1
    Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 4 of 26
EXHIBIT A                                                                                     4$ EFILED IN OFFICE
                       SUPERIOR COURT OF CRISP COUNTY                                       CLERK OF SUPERIOR COURT
                                                                                             CRISP COUNTY, GEORGIA
                              STATE OF GEORGIA
                                                                                                     22V-095
                                                                                            MAY 10, 2022 10:29 AM


                                                                                                 1       '    JTara nayylip. 2l«rk
                                                                                                             Crisp County, Georgia




                         CIVIL ACTION NUMBER 22V-0<j<i
      Goins, Carolyn

      PLAINTIFF
                                                 VS.
      Wal-Mart Stores East, L.P.

      DEFENDANT


                                     SUMMONS
      TO: WAL-MART STORES EAST, L.P. C/O STORE MANAGER

      You are hereby summoned and required to file with the Clerk of said court and serve upon the
      Plaintiffs attorney, whose name and address is:

                                Jody D. Peterman
                                Jody D. Peterman, LLC
                                PO Box 6010
                                Valdosta, Georgia 31603-6010

      an answer to the complaint which is herewith served upon you, within 30 days after service of
      this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
      default will be taken against you for the relief demanded in the complaint.

      This 10th day of May, 2022.
                                                       Clerk of Superior Court




                                                         ^                  flTara HHayslip, Clerk
                                                                           Crisp County, Georgia




                                                                                           Page 1 of 1
       Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 5 of 26
EXHIBIT A                                                                             # EFILED IN OFFICE
                                                                                    CLERK OF SUPERIOR COURT
                                                                                     CRISP COUNTY, GEORGIA
                                                                                             22V-095
                    IN THE SUPERIOR COURT OF CRISP COUNTY
                                                                                     MAY 10, 2022 10:29 AM
                                     STATE OF GEORGIA                                <^fa)WQ <t±U^&> _ _
                                                                                                    Clara flayslip. Clert-
                                                                                                   Crisp County, Geoigic
CAROLYN GOINS,
                                                                   CIVIL ACTION
       Plaintiff,
                                                                   FILE NO.:
v.

WAL-MART STORES EAST, L.P.
d/b/a WAL-MART,

       Defendant.


                                           COMPLAINT

       COMES NOW Carolyn Goins, Plaintiff in the above-styled action, and files this

Complaint against Defendant, showing the Court as follows:



       Defendant Wal-Mart Stores East, L.P. is a foreign limited partnership formed in the State

of Delaware and is authorized to and does transact business within the State of Georgia.

                                                    2.

       Defendant, at all relevant times, owned and/or operated the Wal-Mart located at 1215 E.

16th Avenue, Cordele, Georgia, and is subject to the jurisdiction of this Honorable Court.

Defendant may be served through its registered agent: The Corporation Company (FL), 106

Colony Park Drive, Suite 800-B, Gumming, Georgia 30040-2794.

                                                    3.

       Jurisdiction and venue are proper in this Court.




                                Carolyn Coins v, Wal-Mart Stores East, L.P.
                                   In the Superior Court of Crisp County
                                              State of Georgia
                                                 Complaint
                                                Page l of 4
        Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 6 of 26
EXHIBIT A


                                                    4.

       On or about July 9, 2020, Plaintiff was present at the Wal-Mart at 1215 E. 16th Avenue in

Cordele, Georgia as a customer/business invitee.

                                                    5.

       Plaintiff was inside Defendant’s establishment and, as she was walking, slipped and fell

due to water being present on the floor. The dangerous condition (i.e. wet and slippery floor)

was not readily apparent to the average customer/business invitee.

                                                    6.

       Defendant knew or should have known of the dangerous condition before Plaintiff was

injured by the defect.

                                                    7.

       Defendant had notice of the dangerous condition.

                                                    8.

       The Defendant’s employees and agents knew of such dangerous condition on July 9,

2020, and notwithstanding their knowledge of such dangerous condition, maintained such

dangerous condition on July 9, 2020.

                                                    9.

        This dangerous condition, which was known to the agents and employees of the

Defendant, was unknown to Plaintiff.

                                                    10.

        As a result of the incident, Plaintiff has suffered serious bodily injury.




                                 Carolyn Goins v. Wal-Mart Stores East, LP.
                                    In the Superior Court of Crisp County
                                               State of Georgia
                                                  Complaint
                                                 Page 2 of 4
        Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 7 of 26
EXHIBIT A


                                                     11.

       As a result of the injuries and negligence of Defendant, Plaintiff has suffered past, present

and will in the future suffer pain therefrom.

                                                     12.

       Plaintiff has incurred medical expenses for treatment of her injuries.

                                                     13.

       Plaintiffs injuries are permanent and continuing in nature.

                                                     14.

       All damages suffered by Plaintiff are the direct and proximate result of the Defendant's

negligent acts and omissions.



WHEREFORE, Plaintiff prays as follows:

    a. That service of process issue in accordance with the law;

    b. That Plaintiff have ajury trial on all issues set forth herein;

    c. That Plaintiff recover a judgment against the Defendant in the amount of $350,000.00 for

        medical bills, and pain and suffering;

    d. That Plaintiff be entitled to all costs of this action;

    e. That Plaintiff have such other and farther relief as this Honorable Court deems just and

        proper.




                                  Carolyn Goins v. Wal-Mart Stores East, L.P.
                                     In the Superior Court of Crisp County
                                               State of Georgia
                                                   Complaint
                                                  Page 3 of4
        Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 8 of 26
EXHIBIT A



This the 10th day of May, 2022.

                                                           JODY D. PETERMAN, LLC



                                                            /■?/ Jody D. Peterman
                                                           JODY D. PETERMAN
                                                           Attorney for Plaintiff
                                                           Georgia Bar No.: 573552
P.O. Box 6010
Valdosta, GA 31603-6010
Phone (229) 247-0386
Fax (229) 469-6735                                          /s/ Dillon P. Hanson
Email: petermanlawoffice@yahoo.com                         DILLON P. HANSON
        dhanson.petermanlaw@gmail.com                      Attorney for Plaintiff
                                                           Georgia Bar No.: 883590




                                  Carolyn Goins v. Wal-Mart Stores East, L.P.
                                     In the Superior Court of Crisp County
                                                State of Georgia
                                                   Complaint
                                                  Page 4 of 4
         Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 9 of 26
EXHIBIT A
                                                                         CT Corporation
                                                          Service of Process Notification
                                                                                                                       05/17/2022
                                                                                                          CT Log Number 541598576


  Service of Process Transmittal Summary

  TO:       KIM LUNDY- EMAIL
            Walmart Inc.
            GLOBAL GOVERNANCE/CENTRAL INTAKE, 2914 SE I STREET MS#0200
            BENTONVILLE, AR 72712-3148

  RE:       Process Served in Georgia

  FOR:      Wal-Mart Stores East, LP (Domestic State: DE)



  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                        Re: GOINS CAROLYN // To: Wal-Mart Stores East, LP

  DOCUMENT(S) SERVED:                     Attachment(s), Summons, Complaint

  COURT/AGENCY:                           Superior Court of Crisp County, GA
                                          Case # 22C095
  NATURE OF ACTION:                       Personal Injury - Slip/Trip and Fall - 07/09/2020, at 1215 E. 16th Avenue in Cordele,
                                          Georgia
  PROCESS SERVED ON:                      The Corporation Company (FL), Cumming, GA

  DATE/METHOD OF SERVICE:                 By Process Server on 05/17/2022 at 14:13

  JURISDICTION SERVED:                    Georgia

  APPEARANCE OR ANSWER DUE:               Within 30 days after service, exclusive of the day of service

  ATTORNEY(S)/SENDER(S):                  Jody D. Peterman
                                          Jody D. Peterman, LLC
                                          PO Box 6010
                                          Valdosa, GA 31603
                                          229-247-0386
  ACTION ITEMS:                           CT has retained the current log, Retain Date: 05/18/2022, Expected Purge Date:
                                          05/28/2022
                                          Image SOP

  REGISTERED AGENT CONTACT:               The Corporation Company (FL)
                                          106 Colony Park Drive
                                          STE 800-B
                                          Cumming, GA 30040
                                          877-564-7529
                                          MajorAccountTeam2@wolterskluwer.com



  The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
  and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
  information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
  included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT




                                                                                                                         Page 1 of 2
       Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 10 of 26
EXHIBIT A
                                                                       CT Corporation
                                                        Service of Process Notification
                                                                                                                      05/17/2022
                                                                                                         CT Log Number 541598576

  disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
  contained therein.




                                                                                                                           Page 2 of 2
                       Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 11 of 26
             EXHIBIT A

             SHERIFF'S ENTRY OF SERVICE                                 ,                                   REORDER #11-1705 TOMMY CAS11.EBERRY CO., COVINGTON, GA 30014



             Civil Action #      22V-095                                                •   Superior Court
                                                                                            State Court
             Date Filed       5/10/22
                                                                                                                                             CRISP COUNTY

                                                                                             Carolyn Goins
             Attorney's Address
                          Jody D. Peterman, LLC
                                                                                                                                                             Plaintiff
                          304 N. Ashley Street
                                                                                                                             VS.
                          Valdosta, GA 31601
                                                                                             Wal-Mart Stores East, L.P. d/b/a Wal-Mart
             Name and Address of Party to be Served.
              Wal-Mart Stores-East-,-L7P.                                                                                                             —Defendant-

              p/o The Corporation Company (FL), as Registered Agent

              106 Colony Park Drive, Suite 800-6
              Cumming, GA 30040-2794                                                                                                                      Garnishee
                                                               SHERIFF'S ENTRY OF SERVICE                    •

-J

             I have this day served the defendant                                                                                           personally with a copy
             of the within action and summons.
LU
o_

             I have this day served the defendant                                                                                                       by leaving a
             copy of the action and summons at his most notorious place of abode in this County.
 NOTORIOUS




             Delivered same into hands of                                                                                                    described as follows:
             age, about                 years; weight, about            .    pounds; height, about               feet and                      inches, domiciled at
             the residence of defendant.

0

CI
             Served the defendant
                                                    c              •
                                                                                               ff
                                                                                                                                                       a corporation
0 LI         by leaving a copy of the within action and summons with
a.                                                                                                                 t*
ce                                                                                                                                   L. s
             in charge of the office and place ofdoing business ofsaid Corporation in this County.
8
                                  Summons, Complaint


             I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
             designated in said affidavit, and on the same day ofsuch posting by depositing,' true'copy ofsame in the United States Mail, First Class. in an
             envelope properly addressed to the defendant(s) at the address shown in laid summons, with adequate postage affixed thereon containing notice
             to the defendant(s) to answer said summons at the place stated in the summons.


(r) Diligent search made and defendant
z 0 not to be found in the jurisdiction of this Court

              i
             This             day Of•-•--1
                                                                                                                                                      3
                                                                                                                                                            DEPUTY

             SHERIFF DOCKET               PAGE
             WHITE-CLERK CANARY-PLAINTIFF   PINK-DEFENDANT
    Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 12 of 26
EXHIBIT A                                                                                       EFILED IN OFFICE
                   SUPERIOR COURT OF CRISP COUNTY                                          CLERK OF SUPERIOR COURT
                                                                                            CRISP COUNTY, GEORGIA
                          STATE OF GEORGIA                                                       22V-095
                                                                                            MAY 10, 2022 10:29 AM


                                                                                          61111)Ell#
                                                                                                  Crisp    axg.0(Lgtet

                        CIVIL ACTION NUMBER 22V-095
      Goins, Carolyn

      PLAINTIFF
                                                VS.
      Wal-Mart Stores East, L.P.

      DEFENDANT


                                 SUMMONS
      TO: THE CORPORATION COMPANY (FL)

      You are hereby summoned and required to file with the Clerk of said court and serve upon the
      Plaintiffs attorney, whose name and address is:

                               Jody D. Peterman
                               Jody D. Peterman, LLC
                               PO Box 6010
                               Valdosta, Georgia 31603-6010

      an answer to the complaint which is herewith served upon you, within 30 days after service of
      this summons upon you, exclusive of the day of service. If you fail to do so,judgment by
      default will be taken against you for the relief demanded in the complaint.

      This 10th day of May,2022.
                                                      Clerk of Superior Court




                                                 rlahro                       Tara ayslip, Clerk
                                                                           Crisp County, Georgia




                                                                                           Page! of!
        Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 13 of 26
EXHIBIT A                                                             d EFILED IN OFFICE
                                                                                     CLERK OF SUPERIOR COURT
                                                                                      CRISP COUNTY, GEORGIA
                                                                                              22V-095
                     IN THE SUPERIOR COURT OF CRISP COUNTY
                                                                                      MAY 10, 2022 10:29 AM

                                     STATE OF GEORGIA
                                                                                      dalta0140
                                                                                                      Tara I ayslip, Clerk
                                                                                                   Crisp County, Georgir
CAROLYN GOINS,
                                                                   CIVIL ACTION
       Plaintiff,
                                                                   FILE NO.:
V.


WAL-MART STORES EAST,L.P.
d/b/a WAL-MART,

       Defendant.


                                           COMPLAINT

       COMES NOW Carolyn Goins, Plaintiff in the above-styled action, and files this

Complaint against Defendant, showing the Court as follows:

                                                    1.

       Defendant Wal-Mart Stores East, L.P. is a foreign limited partnership formed in the State

of Delaware and is authorized to and does transact business within the State of Georgia.

                                                    2.

       Defendant, at all relevant times, owned and/or operated the Wal-Mart located at 1215 E.

1 6th Avenue, Cordele, Georgia, and is subject to the jurisdiction of this Honorable Court.

Defendant may be served through its registered agent: The Corporation Company (FL), 106

Colony Park Drive, Suite 800-B, Cumming, Georgia 30040-2794.

                                                    3.

       Jurisdiction and venue are proper in this Court.




                                Carolyn Goins v. Wal-Mart Stores East, L.P.
                                   In the Superior Court of Crisp County
                                              State of Georgia
                                                 Complaint
                                                Page 1 of4
        Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 14 of 26
EXHIBIT A


                                                   4.

       On or about July 9, 2020, Plaintiff was present at the Wal-Mart at 1215 E. 16th Avenue in

Cordele, Georgia as a customer/business invitee.

                                                    5.

       Plaintiff was inside Defendant's establishment and, as she was walking, slipped and fell

due to water being present on the floor_The_dangerous-condition (ite. wet-and-slipp-ery-flotir).

was not readily apparent to the average customer/business invitee.

                                                   6.

       Defendant knew or should have known of the dangerous condition before Plaintiff was

injured by the defect.

                                                    7.

       Defendant had notice of the dangerous condition.

                                                   8.

       The Defendant's employees and agents knew of such dangerous condition on July 9,

2020, and notwithstanding their knowledge of such dangerous condition, maintained such

dangerous condition on July 9, 2020.

                                                    9.

       This dangerous condition, which was known to the agents and employees of the

Defendant, was unknown to Plaintiff.

                                                   10.

       As a result of the incident, Plaintiff has suffered serious bodily injury.




                                Carolyn Goins v. Wal-Mart Stores East, L.P.
                                   In the Superior Court of Crisp County
                                              State of Georgia
                                                 Complaint
                                                Page 2 of 4 '
        Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 15 of 26
EXHIBIT A


                                                    11.

       As a result of the injuries and negligence of Defendant, Plaintiff has suffered past, present

and will in the future suffer pain therefrom.

                                                    12.

       Plaintiff has incuiTed medical expenses for treatment of her injuries.



       Plaintiff's injuries are permanent and continuing in nature.

                                                    14.

       All damages suffered by Plaintiff are the direct and proximate result of the Defendant's

negligent acts and omissions.



WHEREFORE, Plaintiff prays as follows:

   a. That service of process issue in accordance with the law;

   b. That Plaintiff have a jury trial on all issues set forth herein;

   c. That Plaintiff recover a judgment against the Defendant in the amount of $350,000.00 for

       medical bills, and pain and suffering;

   d. That Plaintiff be entitled to all costs of this action;

    . That Plaintiff have such other and further relief as this Honorable Court deems just and

       proper.




                                 Carolyn Goins v. Wal-Mart Stores East, L.P.
                                    In the Superior Court of Crisp County
                                               State of Georgia
                                                  Complaint
                                                 Page 3 of4
       Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 16 of 26
EXHIBIT A



This the 10th day of May, 2022.

                                                         JODY D.PETERMAN,LLC



                                                          /s/Jody D. Peterman
                                                         JODY D. PETERMAN
                                                         Attorney_for_Plaintiff
                                                         Georgia Bar No.: 573552
P.O. Box 6010
Valdosta, GA 31603-6010
Phone (229) 247-0386
Fax (229)469-6735                                       /s/Dillon P. Hanson
Email: petermanlawoffice@yahoo.com                     DILLON P. HANSON
       dhanson.petermanlaw@gmail.com                 • Attorney for Plaintiff
                                                       Georgia Bar No.: 883590




                              Carolyn Gains v. Wal-Mart Stores East, L.P.
                                 In the Superior Court of Crisp County
                                            State of Georgia
                                               Complaint
                                              Page 4 of4
        Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 17 of 26
EXHIBIT A
                                                                                CLERK OF SUPERIOR COURT
                                                                                 CRISP COUNTY, GEORGIA
                                                                                     22V-095
                     IN THE SUPERIOR COURT OF CRISP COUNTY
                                                                                MAY 23, 2022 04:52 PM
                                    STATE OF GEORGIA

CAROLYN GOINS,
                                                            CIVIL ACTION
       Plaintiff,
                                                            FILE NO.: 22V-095
v.

WAL-MART STORES EAST, L.P.
d/b/a WAL-MART,

       Defendant.


                        CERTIFICATE REGARDING DISCOVERY

       Pursuant to Uniform Superior Court Rule 5.2, as amended, the undersigned hereby

certifies that the following discovery has been served upon all persons identified in the

Certificate of Service attached hereto and incorporated herein by reference:

       1.      Plaintiff's First Interrogatories to Defendant, WAL-MART STORES EAST, LP
       D/B/A WAL-MART; and
       2.      Plaintiffls First Request for Production to Defendant, WAL-MART STORES
       EAST, P /A WAL-MART

       This         day of May 2022.




                                                    Attorn~y r Plaintiff
                                                    Georgia    # 573552

Jody D. Peterman, LLC
Attorney at Law
P.O. Box 6010
Valdosta, GA 31603-6010
(229) 247-0386
       Case 1:22-cv-00076-LAG Document 1-1 Filed 06/06/22 Page 18 of 26
EXHIBIT A


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that she has this day delivered a copy of the foregoing
PLAINTIFF'S FIRST INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS TO DEFENDANT, WAL-MART STORES EAST, LP D/B/A WAL-MART, by
U.S. Mail in an envelope properly addressed for delivery to:


                                   Drew Eckl &Farnham LP
                                       Michael L. Miller
                                  303 Peachtree St., Ste. 3500
                                      Atlanta, GA 30308


       This ~ day of May 2022.

                                                     r
                                                     ell Je c ns
                                                    Secretary ó Jody D. Peterman

Jody D. Peterman, LLC
Attorney at Law
P.O. Box 6010
Valdosta, GA 31603-6010
(229) 247-0386
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                                                                        CLERK OF SUPERIOR COURT
                                                                         CRISP COUNTY, GEORGIA
                                                                             22V-095
                          IN THE SUPERIOR COURT OF CRISP COUNTY
                                                              MAY 31, 2022 11:52 AM
                                     STATE OF GEORGIA

CAROLYN GOINS,                                            Civil Action File No.
                                                          202V-095
             Plaintiff,
v.

WAL-MART STORES EAST, LP.
d/b/a WAL-MART,

             Defendant.
                               /


                             ANSWER OF DEFENDANT

      COMES NOW, Defendant WAL-MART STORES EAST, LP d/b/a WAL-

MART and makes this Answer to Plaintiff's Complaint as follows:

                                    FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which

relief can be granted.

                                   SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused

by Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                   THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to


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himself; and on account thereof, Plaintiff is not entitled to recover from

Defendant.

                               FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that

any negligent act or omission on its part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                 SIXTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                         1.

      Defendant admits the allegations contained in paragraph 1 of the Plaintiff's

Complaint.

                                         2.

      Defendant admits that it operated the subject Store and may be served

through its registered agent in Cumming, Georgia. Defendant denies the




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remaining allegations contained in paragraph 2 of the Plaintiff's Complaint, as

stated.

                                         3.

      Defendant denies the allegations contained in paragraph 3 of the Plaintiff's

Complaint.

                                         4.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 4 of Plaintiff's Complaint, which are

accordingly deemed denied.

                                         5.

      Defendant denies the allegations contained in paragraph 5 of the Plaintiff's

Complaint.

                                         6.

      Defendant denies the allegations contained in paragraph 6 of the Plaintiff's

Complaint.

                                         7.

      Defendant denies the allegations contained in paragraph 7 of the Plaintiff's

Complaint.




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                                       8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's

Complaint.

                                       9.

      Defendant denies the allegations contained in paragraph 9 of the Plaintiff's

Complaint.

                                       10.

      Defendant denies the allegations contained in paragraph 10 of the

Plaintiff's Complaint.

                                       11.

      Defendant denies the allegations contained in paragraph 11 of the

Plaintiff's Complaint.

                                       12.

      Defendant denies the allegations contained in paragraph 12 of the

Plaintiff's Complaint.

                                       13.

      Defendant denies the allegations contained in paragraph 13 of the

Plaintiff's Complaint.




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                                       14.

       Defendant denies the allegations contained in paragraph 14 of the

Plaintiff's Complaint.

                                       15.

       All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                       16.

       Defendant denies Plaintiff's prayer for relief, including subparagraphs a.,

b., c., d., and e., thereof.

       WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed

with all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A

JURY OF TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                      McLAIN & MERRITT, P.C.


                                       /s/ Ernest L. Beaton, IV
                                      Ernest L. Beaton, IV
                                      Georgia Bar No. 213044
                                      Attorneys for Defendant

3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 266-9171
ebeaton@mmatllaw.com


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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT has this day been filed and served upon opposing counsel via

Peachcourt.

      This the 31st day of May, 2022.

                                        McLAIN & MERRITT, P.C.



                                        /s/ Ernest L. Beaton, IV
                                        Ernest L. Beaton, IV
                                        Georgia Bar No. 213044
                                        Attorney for Defendant

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CAROLYN GOINS,                                        Civil Action File No.
                                                      202V-095
            Plaintiff,
v.

WAL-MART STORES EAST, LP.
d/b/a WAL-MART,

            Defendant.
                            /

                         12-PERSON JURY DEMAND

      COMES NOW Defendant, WAL-MART STORES EAST, LP d/b/a WAL-

MART and demands a trial by a jury of twelve (12) persons.


                                    McLAIN & MERRITT, P.C.

                                    /s/ Ernest L. Beaton, IV
                                    Ernest L. Beaton, IV
                                    Georgia Bar No. 213044
                                    Attorneys for Defendant

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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing 12-PERSON JURY

DEMAND has this day been filed and served upon opposing counsel via

Peachcourt.

      This the 31st day of May, 2022.

                                        McLAIN & MERRITT, P.C.



                                        /s/ Ernest L. Beaton, IV
                                        Ernest L. Beaton, IV
                                        Georgia Bar No. 213044
                                        Attorney for Defendant

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